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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DEKA INVESTMENT GMBH,                       §
Individually and on Behalf of All Others    §
Similarly Situated,                         §
                                            §
                           Plaintiffs,      §
                                            §
      v.                                    § Civil Action No. 3:15-cv-02129-K
                                            §
SANTANDER CONSUMER USA                      § CLASS ACTION
HOLDINGS INC., et al.,                      §
                                            §
                           Defendants.      §

    FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE

      This matter came before the Court for hearing pursuant to the Order Preliminarily

Approving Settlement and Providing for Notice (“Notice Order”) dated August 13,

2020, on the application of the Settling Parties for approval of the Settlement set forth

in the Stipulation of Settlement dated July 28, 2020 (the “Settlement Agreement” or

“Stipulation”). Due and adequate notice having been given to the Classes as required in

the Notice Order, and the Court having considered all papers filed and proceedings had

herein and otherwise being fully informed in the premises and good cause appearing

therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     This Final Judgment incorporates by reference the definitions in the

Settlement Agreement, and all terms used herein shall have the same meanings as set

forth in the Settlement Agreement, unless otherwise set forth herein.



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         2.   This Court has jurisdiction over the subject matter of the Action and over

all Settling Parties to the Action, including all members of the Classes.

         3.   The Court hereby certifies for the purposes of the Settlement only, the

Action as a class action pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of

Civil Procedure on behalf of the Classes defined as: the 1933 Act Class and the 1934 Act

Class.

         4.   The 1933 Act Class consists of “all persons and entities who purchased or

otherwise acquired SCUSA common stock in or traceable to SCUSA’s January 23, 2014

initial public offering and were damaged thereby.”

         5.   The 1934 Act Class consists of “all persons and entities who, between

January 23, 2014 and June 12, 2014, inclusive, purchased or otherwise acquired SCUSA

common stock, and were damaged thereby.”

         6.   Excluded from the Classes are: (i) Defendants; (ii) the present or former

executive officers of SCUSA and their immediate family members (as defined in 17

C.F.R. § 229.404 (Instructions (1)(a)(iii) and (i)(b)(ii)); and (iii) Santander Holdings

USA, Inc. (“SHUSA”) and the other selling stockholders identified in the Offering

Documents and their immediate family members (as defined in 17 C.F.R. § 229.404

(Instructions (1)(a)(iii) and (i)(b)(ii)). For the avoidance of doubt, this exclusion does

not extend to any investment company, pooled investment fund, or separately managed

account (including, but not limited to, mutual fund families, exchange-traded funds,

fund of funds, private equity funds, real estate funds, hedge funds, and employee benefit

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plans) in which any Underwriter Defendant or any of its affiliates has or may have a

direct or indirect interest, or as to which any Underwriter Defendant or any of its

affiliates may serve as a fiduciary or act as an investment advisor, general partner,

managing member, or in any other similar capacity (other than where the Underwriter

Defendant or any of its affiliates is a majority owner or holds a majority beneficial

interest and only to the extent of such Underwriter Defendant’s or its affiliates’

ownership or interest); provided, however, that membership in the Classes by such entity

is limited to transactions in SCUSA common stock made on behalf of, or for the benefit

of, Persons other than Persons that are specifically excluded from the Classes by

definition. Also excluded from the Classes are the persons and entities who or which are

excluded from the Classes pursuant to request, of which they are none.

      7.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the

purposes of the Settlement only, the Court hereby certifies Plaintiffs as Class

Representatives for the Classes and appoints Lead Counsel as Class Counsel for the

Classes. Plaintiffs and Lead Counsel have fairly and adequately represented the Classes

both in terms of litigating the Action and for purposes of entering into and implementing

the Settlement and have satisfied the requirements of Federal Rules of Civil Procedure

23(a)(4) and 23(g), respectively.

      8.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court finds

that the Settlement Agreement and the Settlement are fair, reasonable, and adequate as

to each of the Settling Parties and to the Classes, and that the Settlement Agreement

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and Settlement are hereby finally approved in all respects, and the Settling Parties are

hereby directed to perform its terms.

       9.     Accordingly, the Court authorizes and directs implementation of all the

terms and provisions of the Settlement Agreement, as well as the terms and provisions

hereof. The Court hereby dismisses, as to Defendants, the Action and all Released

Plaintiffs’ Claims of the Classes with prejudice, without costs as to any of the Released

Parties, except as and to the extent provided in the Settlement Agreement and herein.

       10.    Upon the Effective Date, Lead Plaintiffs and each of the other Class

Members, on behalf of themselves and their respective present and former executors,

administrators, successors, predecessors, parent entities, subsidiaries, divisions, related

entities, affiliates, partners, limited partners, general partners, members, owners,

investors, principals, employees, officers, directors, executive directors, managing

directors, advisors of any kind, attorneys, agents, servants, subrogees, indemnitors,

insurers, heirs, personal or legal representatives, trusts, family members, and assigns, and

any other person or entity who has the right, ability, standing, or capacity to assert,

prosecute, or maintain on behalf of any Class Member any of the Released Plaintiffs’

Claims (or to obtain the proceeds of any recovery therefrom), in such capacity only, shall

be deemed to have, and by operation of this Judgment shall have, fully, finally, and

forever compromised, settled, resolved, released, relinquished, waived, and discharged

against the Released Parties (whether or not such Class Members execute and deliver the

Proof of Claim and Release forms) any and all Released Plaintiffs’ Claims (including,

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without limitation, Unknown Claims), and shall be permanently barred and enjoined

from the institution, maintenance, prosecution, commencement, intervention in or

participation in, continuation, or enforcement against any Released Party, in any state,

federal or local court of law or equity, or arbitral forum, administrative forum, court of

any foreign jurisdiction, or other forum of any kind or character (whether brought

directly, in a representative capacity, or in any other capacity) of any and all Released

Plaintiffs’ Claims (including, without limitation, Unknown Claims).

      11.    Upon the Effective Date, each of the Released Parties, on behalf of

themselves and their respective executors, administrators, successors, predecessors, and

assigns, and any other person or entity who has the right, ability, standing or capacity to

assert, prosecute, or maintain on behalf of any Defendant any of the Released

Defendants’ Claims (or to obtain the proceeds of any recovery therefrom), in such

capacity only, shall be deemed to have, and by operation of this Judgment shall have,

fully, finally, and forever released, relinquished, and discharged against Lead Plaintiffs,

all Class Members and each of their past or present subsidiaries, past or present

directors, officers, employees, partners, insurers, co-insurers, reinsurers, principals,

controlling shareholders, attorneys, accountants, auditors, underwriters, investment

advisors, personal or legal representatives, predecessors, successors, parents, divisions,

joint ventures, assigns, spouses, heirs, estates, related or affiliated entities, and Lead

Plaintiffs’ and Class Members’ immediate family members (“Released Plaintiffs’ Parties”)

any and all Released Defendants’ Claims (including, without limitation, Unknown

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Claims), and shall be permanently barred and enjoined from the institution,

maintenance, prosecution, or enforcement against any Released Plaintiffs’ Party, in any

state or federal court or arbitral forum, or in the court of any foreign jurisdiction, of any

and all Released Defendants’ Claims (including, without limitation, Unknown Claims).

       12.    The Notice of Pendency and Proposed Settlement of Class Action given to

the Classes in accordance with the Notice Order entered on August 13, 2020 was the

best notice practicable to all Persons entitled to such notice, of the matters set forth

therein, including the proposed Settlement set forth in the Settlement Agreement. Said

notice includes the individual notice to all members of the Classes who could be

identified through reasonable effort, and otherwise fully satisfied the requirements of

Federal Rule of Civil Procedure 23 and the requirements of due process. Defendants’

dissemination of notice pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715

(“CAFA”), as reflected in Defendants’ notice filed with the Court on January 5, 2021

(Doc. No. 257): (a) constituted the best notice practicable under the circumstances; (b)

constituted notice that was reasonably calculated, under the circumstances, to apprise

the appropriate Federal official and State officials (as defined in 28 U.S.C. § 1715) of all

matters required by CAFA; (c) constituted due, adequate, and sufficient notice to the

appropriate Federal official and State officials; and (d) satisfied the requirements of

CAFA.




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      13.    Any plan of allocation submitted by Lead Counsel or any order entered

regarding any attorneys’ fee and expense application shall in no way disturb or affect this

Judgment and shall be considered separate from this Judgment.

      14.    Neither the Stipulation nor the Settlement contained therein, nor any act

performed or document executed pursuant to or in furtherance of the Stipulation or the

Settlement (a) is or may be deemed to be or may be used as an admission of, or evidence

of, the validity of any Released Claim, or of any wrongdoing or liability of the Released

Parties; or (b) is or may be deemed to be or may be used as an admission of, or evidence

of, any fault or omission of any of the Released Parties; or (c) is or may be deemed to be

or may be used as an admission or evidence that any claims asserted by Plaintiffs were

not valid or that the amount recoverable was not greater than the Settlement amount, in

any civil, criminal, or administrative proceeding in any court, administrative agency, or

other tribunal. The Released Parties may file the Stipulation and/or this Judgment in

any action that may be brought against them in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, release, good faith

settlement, judgment bar or reduction or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim.

      15.    Without affecting the finality of this Judgment in any way, this Court

hereby retains continuing exclusive jurisdiction over: (a) implementation of this

Settlement and any award or distribution of the Settlement Fund, including interest

earned thereon; (b) disposition of the Settlement Fund; (c) hearing and determining

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applications for attorneys’ fees, interest, and expenses in the Action; and (d) all Settling

Parties hereto for the purpose of construing, enforcing, and administering the Settlement

Agreement.

       16.    The Court finds that during the course of the Action, the Settling Parties

and their respective counsel at all times complied with the requirements of Federal Rule

of Civil Procedure 11.

       17.    In the event that the Settlement does not become effective in accordance

with the terms of the Settlement Agreement, or the Effective Date does not occur, then

this Judgment shall be rendered null and void to the extent provided by and in

accordance with the Settlement Agreement and shall be vacated and, in such event, all

orders entered and releases delivered in connection herewith shall be null and void to the

extent provided by and in accordance with the Settlement Agreement.

       18.    Without further approval from the Court, Plaintiffs and Defendants are

hereby authorized to agree to and adopt such amendments or modifications of the

Settlement Agreement or any exhibits attached thereto to effectuate the Settlement that:

(a) are not materially inconsistent with this Judgment; and (b) do not materially limit

the rights of Class Members in connection with the Settlement. Without further order

of the Court, the Settling Parties may agree to reasonable extensions of time to carry out

any of the provisions of the Settlement Agreement.




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      19.    The Court directs immediate entry of this Final Judgment by the Clerk of

the Court.

      SO ORDERED.

      Signed on January 12th, 2021.




                                       ______________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE




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